      Case: 19-30043   Document: 00514895341 Page: 1 Date Filed: 04/01/2019
Case 5:18-cv-01406-EEF-MLH Document 44 Filed 04/01/19 Page 1 of 2 PageID #: 449




                    United States Court of Appeals
                                    FIFTH CIRCUIT
                                 OFFICE OF THE CLERK
  ġ                    ġ                                  ġ
  LYLE W. CAYCE        ġ                                          TEL. 504-310-7700
  CLERK                ġ                                       600 S. MAESTRI PLACE,
                       ġ                                               Suite 115
                                                              NEW ORLEANS, LA 70130

                                April 01, 2019


 Mr. Tony R. Moore
 Western District of Louisiana, Shreveport
 United States District Court
 300 Fannin Street
 Suite 1167
 Shreveport, LA 71101-0000

        No. 19-30043       Morris & Dickson Co., L.L.C. v. William
                           Barr, U. S. Atty Gen, et al
                           USDC No. 5:18-CV-1406


 Dear Mr. Moore,
 Enclosed is a copy of the judgment issued as the mandate.
                                     Sincerely,
                                     LYLE W. CAYCE, Clerk




                                     By: _________________________
                                     Allison G. Lopez, Deputy Clerk
                                     504-310-7702


 cc w/encl:
      Mr. Joshua Arnold
      Ms. Jodi Avergun
      Mr. Michael Anthony Carvin
      Mr. Keith Gerver
      Mr. Chetan Adinath Patil
      Mr. Joshua Marc Salzman
      Mr. William Simpson
      Mr. Franklin H. Spruiell Jr.
      Case: 19-30043   Document: 00514895342 Page: 1 Date Filed: 04/01/2019
Case 5:18-cv-01406-EEF-MLH Document 44 Filed 04/01/19 Page 2 of 2 PageID #: 450


           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT

                              ___________________

                                 No. 19-30043
                              ___________________

 MORRIS & DICKSON COMPANY, L.L.C.,                    A True Copy
                                                      Certified order issued Apr 01, 2019

             Plaintiff - Appellant
                                                      Clerk, U.S. Court of Appeals, Fifth Circuit
 v.

 WILLIAM P. BARR, U. S. ATTORNEY GENERAL; UNITED STATES
 DEPARTMENT OF JUSTICE; DRUG ENFORCEMENT
 ADMINISTRATION; UNITED STATES OF AMERICA; UTTAM DHILLON,

             Defendants - Appellees

                            _______________________

                 Appeal from the United States District Court
                    for the Western District of Louisiana
                           _______________________

  CLERK'S OFFICE:
       Under FED. R. APP. P. 42(b), the appeal is dismissed as of April 01, 2019,
 pursuant to appellant's motion.


                                      LYLE W. CAYCE
                                      Clerk of the United States Court
                                      of Appeals for the Fifth Circuit




                                      By: _________________________
                                      Allison G. Lopez, Deputy Clerk

                          ENTERED AT THE DIRECTION OF THE COURT
